EXhibit 77

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IN THE UNITED STATES DISTRICT COURT
FGR THE MIDDLE DISTRICT OF NORTH CAROLINA
CIVIL ACTION NO. l:l4-CV~OO954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,

 

Plaintiffs,
vS.
UNIVERSITY OF NORTH
CAROLINA, et al.,
Defendants.
DEPOSITION
OF

LYNN WILLIFORD

 

TAKEN AT THE OFFICES OF:

UNIVERSITY GF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue

110 Bynum Hall

Chapel Hill, NC 27514

06-20-17
9:06 A.M.

 

Michael B. Lawrence
Court Reporter

Civil Court Reporting, LLC
P.O. BOX 1146
Clemmons, NC 27012
(336) 406-7684

 

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Deposition of Lynn Williford Students for Fair Admissions v. UNC, et al.

 

 

 

1 A. No.
2 Q. Have you ever been asked to measure the
3 extent to Which any group on campus, racial or
4 otherwise, has obtained critical mass?
5 A . NO .
6 Q. Have you ever -- so you've never been
7 asked to try to measure or quantify critical mass
8 for any group?
9 A. Correct.
10 Q. Have you ever heard critical mass
11 discussed specifically With respect to the
12 University's admissions policies?
13 A. Repeat that, okay?
14 Q. Have you ever heard critical mass used
15 specific With discussion to the University‘s
16 admissions policies?
17 MR. SCUDDER: Object to the form.
18 A. 1 Would have to say no. Specific to
19 policies, no, 1 have not heard that.
20 Q. (Mr. Strawbridge) As far as you can
21 remember, Where have you heard people use the term
22 critical mass?
23 A. Where 1 hear the term critical mass, 1
24 read about it in the literature as being important
25 to individuals. 1 have not heard discussions
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Deposition of Lynn Williford Students for Fair Admissions v. UNC, et al.

 

 

 

1 definition of critical mass and how that might
2 vary depending on a lot of things. And so 1 don't
3 -- in other Words, 1 don't recall they made
4 conclusions about What a critical mass is.
5 Q. Was it an assumption ~- based on your
6 perception, Was it an assumption of this
7 discussion or an expressly stated part of this
8 discussion that the goal of using race in
9 admissions at UNC Was to obtain critical mass?
10 A. 1 don't ---
11 MR. SCUDDER: Object to the form.
12 A. --- recall that?
13 Q. (Mr. Strawbridge) You don't recall that
14 being ---
15 A. No.
16 Q. And since this meeting, have you ever --
17 have you participated in any other discussions of
18 What critical mass is and Whether the University
19 has attained it?
2 0 A . NO .
21 Q. As We discussed earlier, you've never --
22 your office, at least, has never been asked to
23 somehow do an analysis that Would reflect Whether
24 the University has obtained critical mass?
25 A. Correct. We have never done that.
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